Case 2:15-ml-02668-PSG-SK Document 1101-1 Filed 01/05/24 Page 1 of 5 Page ID
                                #:42743


  1   Marc M. Seltzer (54534)                   Howard Langer (Pro Hac Vice)
      mseltzer@susmangodfrey.com                hlanger@langergrogan.com
  2   SUSMAN GODFREY L.L.P.                     LANGER GROGAN AND DIVER PC
      1900 Avenue of the Stars, Suite 1400      1717 Arch Street, Suite 4020
  3   Los Angeles, CA 90067-6029                Philadelphia, PA 19103
      Phone: (310) 789-3100                     Tel: (215) 320-5660
  4   Fax: (310) 789-3150                       Fax: (215) 320-5703
  5   Scott Martin (Pro Hac Vice)
      smartin@hausfeld.com
  6   HAUSFELD LLP
      33 Whitehall Street, 14th Floor
  7   New York, NY 10004
      Tel: (646) 357-1100
  8   Fax: (212) 202-4322
  9
      [Additional Counsel on Signature Page]
 10
      Plaintiffs’ Co-Lead Counsel
 11

 12
                         UNITED STATES DISTRICT COURT
 13
                        CENTRAL DISTRICT OF CALIFORNIA
 14

 15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (SKx)
      LEAGUE’S “SUNDAY TICKET”
 16   ANTITRUST LITIGATION
                                               PLAINTIFFS’ MEMORANDUM IN
 17   THIS DOCUMENT RELATES TO                 SUPPORT OF THEIR UNOPPOSED
      ALL ACTIONS                              MOTION IN LIMINE NO. 1 TO
 18                                            EXCLUDE EVIDENCE AND
                                               ARGUMENT REGARDING
 19                                            TREBLE DAMAGES AND
                                               ATTORNEYS’ FEES AND COSTS
 20
                                               JUDGE: Hon. Philip S. Gutierrez
 21                                            DATE: February 7, 2024
                                               TIME: 2:30 p.m.
 22                                            COURTROOM:
                                                First Street Courthouse
 23                                             350 West 1st Street
                                                Courtroom 6A
 24                                             Los Angeles, CA 90012
 25

 26

 27

 28
Case 2:15-ml-02668-PSG-SK Document 1101-1 Filed 01/05/24 Page 2 of 5 Page ID
                                #:42744


  1           Plaintiffs respectfully submit the following memorandum of points and
  2   authorities in support of its unopposed motion in limine to preclude the introduction
  3   of any evidence before the jury concerning treble damages and attorney fees and costs
  4   as authorized by the federal antitrust laws.
  5
         I.      This Court Should Prohibit Evidence or Argument Concerning Any
  6              Treble Damages and Attorney Fees and Costs to the Jury
  7           Pursuant to Federal Rules of Evidence 401, 402, and 403, Plaintiffs move in
  8   limine for an order prohibiting the NFL from referencing or presenting any evidence
  9   or reference to the fact that Plaintiffs are seeking or may be entitled to treble damages
 10   or attorneys’ fees and costs as authorized by the federal antitrust laws, 15 U.S.C. §
 11   15. These Court-ordered statutory remedies lack any relevance to the issues to be
 12   tried before the jury, and their mention could only contaminate the jury’s
 13   consideration of the facts that matter here.
 14           Under the Clayton Act, a successful antitrust plaintiff “shall recover threefold
 15   the damages by him sustained, and the cost of suit, including a reasonable attorney’s
 16   fee” as appropriate. 15 U.S.C. § 15 (emphasis added).
 17           But this Court alone is responsible for effectuating those statutory remedies
 18   after trial. The jury’s factfinding role ends once it determines liability and the amount
 19   of damages, at which point this Court must, as a matter of law, apply the damage
 20   multiplier, calculate fees and costs, and determine the suitability of injunctive relief.
 21   See, e.g., eBay Inc v. MercExchange, L.L.C., 547 U.S. 388 (2006); Brooks v. Cook,
 22   938 F.2d 1048, 1052 (9th Cir. 1991).
 23           “In antitrust actions, ‘courts have uniformly concluded that mentioning treble
 24   damages and attorney fees to the jury is improper.’” In re Tableware Antitrust Litig.,
 25   No. C-04-3514, 2007 WL 781960, at *3 (N.D. Cal. Mar. 13, 2007) (quoting HBE
 26   Leasing Corp. v. Frank, 22 F.3d 41 (2d Cir. 1994) (internal brackets omitted)). These
 27   important safeguards prevent any jury action that might “negate Congress’
 28   determination that actual damages should be trebled in order to deter antitrust

                                                  1
Case 2:15-ml-02668-PSG-SK Document 1101-1 Filed 01/05/24 Page 3 of 5 Page ID
                                #:42745


  1   violations and encourage private enforcement of the antitrust laws,” Noble v.
  2   McClatchy Newspapers, 533 F.2d 1081, 1091 (9th Cir. 1975) (vacated on other
  3   grounds, 433 U.S. 904 (1977)), including any “offset [of attorney fees and costs] by
  4   reducing the damage award,” Brooks, 938 F.2d at 1052.
  5            Even if this Court’s statutory duties had any probative value for the jury, it
  6   would be substantially outweighed by the possibility of prejudice, confusion, and
  7   wasting time. Fed. R. Evid. 403. As numerous courts have concluded, there is no
  8   reason to inform the jury of the Clayton Act’s features other than to sow confusion
  9   and invite prejudice, including by improperly seeking to reduce the damages award.
 10   See Pollock & Riley, Inc. v. Pearl Brewing Co., 498 F.2d 1240, 1243 (5th Cir. 1974)
 11   (“informing a jury [about trebling] would serve no useful function and its probable
 12   consequence would be harmful – an impermissible lowering of the amount of
 13   damages”).
 14            In addition, the NFL Defendants do not oppose this motion.
 15      II.      Conclusion
 16            For the foregoing reasons, Plaintiffs’ Unopposed Motion In Limine No. 1 to
 17   preclude the NFL Defendants from referring to treble damages and attorney fees and
 18   costs before the jury should be granted.
 19

 20   Dated: January 5, 2024                   Respectfully submitted,
 21

 22                                            By: /s/ Marc M. Seltzer

 23                                            Marc M. Seltzer (54534)
                                               mseltzer@susmangodfrey.com
 24                                            Kalpana Srinivasan (237460)
                                               ksrinivasan@susmangodfrey.com
 25                                            Amanda Bonn (270891)
                                               abonn@susmangodfrey.com
 26                                            SUSMAN GODFREY L.L.P.
                                               1900 Avenue of the Stars, Suite 1400
 27                                            Los Angeles, CA 90067
                                               Tel: (310) 789-3100
 28                                            Fax: (310) 789-3150

                                                  2
Case 2:15-ml-02668-PSG-SK Document 1101-1 Filed 01/05/24 Page 4 of 5 Page ID
                                #:42746

                                        William C. Carmody (Pro Hac Vice)
  1                                     bcarmody@susmangodfrey.com
                                        Seth Ard (Pro Hac Vice)
  2                                     sard@susmangodfrey.com
                                        Tyler Finn (Pro Hac Vice)
  3                                     tfinn@susmangodfrey.com
                                        SUSMAN GODFREY L.L.P
  4                                     1301 Avenue of the Americas, 32nd Fl.
                                        New York, NY 10019
  5                                     Tel: (212) 336-8330
                                        Fax: (212) 336-8340
  6
                                        Ian M. Gore (Pro Hac Vice)
  7                                     igore@susmangodfrey.com
                                        SUSMAN GODFREY L.L.P.
  8                                     401 Union Street, Suite 3000
                                        Seattle, WA 98101
  9                                     Tel: (206) 505-3841
                                        Fax: (206) 516-3883
 10
                                        Scott Martin (Pro Hac Vice)
 11                                     smartin@hausfeld.com
                                        HAUSFELD LLP
 12                                     33 Whitehall Street, 14th Floor
                                        New York, NY 10004
 13                                     Tel: (646) 357-1100
                                        Fax: (212) 202-4322
 14
                                        Christopher L. Lebsock (184546)
 15                                     clebsock@hausfeld.com
                                        Samuel Maida (333835)
 16                                     smaida@hausfeld.com
                                        HAUSFELD LLP
 17                                     600 Montgomery St., Suite 3200
                                        San Francisco, CA 94111
 18                                     Tel: (415) 633-1908
                                        Fax: (415) 633-4980
 19
                                        Sathya S. Gosselin (269171)
 20                                     sgosselin@hausfeld.com
                                        Farhad Mirzadeh (Pro Hac Vice)
 21                                     fmirzadeh@hausfeld.com
                                        HAUSFELD LLP
 22                                     888 16th Street, N.W., Suite 300
                                        Washington, DC 20006
 23                                     Tel: (202) 540-7200
                                        Fax: (202) 540-7201
 24
                                        Howard Langer (Pro Hac Vice)
 25                                     hlanger@langergrogan.com
 26
                                        Edward Diver (Pro Hac Vice)
                                        ndiver@langergrogan.com
 27                                     Peter Leckman (235721)
                                        pleckman@langergrogan.com
 28                                     Kevin Trainer (Pro Hac Vice)
                                        ktrainer@langergrogan.com
                                           3
Case 2:15-ml-02668-PSG-SK Document 1101-1 Filed 01/05/24 Page 5 of 5 Page ID
                                #:42747

                                        LANGER GROGAN AND DIVER PC
  1                                     1717 Arch Street, Suite 4020
                                        Philadelphia, PA 19103
  2                                     Tel: (215) 320-5660
                                        Fax: (215) 320-5703
  3

  4                                     Plaintiffs’ Co-Lead Counsel

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                           4
